                    Case 1:19-cr-04439-JCH Document 102 Filed 07/28/22 Page 1 of 1


                                             CLERK’S MINUTE SHEET
                                   IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW MEXICO (AT ALBUQUERQUE)

                                             Before the Honorable Kirtan Khalsa
                                                      Initial Appearance
Case Number:                19cr4439 JCH                          UNITED STATES vs. Perez
Hearing Date:               7/28/2022                             Time In and Out:          9:31-9:32; 9:47-9:52
Courtroom Deputy:           E. Hernandez                          Courtroom:                Rio Grande
                                                                                            Mallory Gagan for initial
Defendant:                  Joseph Matthew Perez                  Defendant’s Counsel:
                                                                                            purposes only
AUSA:                       Joseph Spindle                        Pretrial/Probation:       J. Tanny
Interpreter:                N/A                                   Witness:
Initial Appearance
☒     Defendant received a copy of charging document
☒     Court advises defendant(s) of possible penalties and all constitutional rights
☒     Defendant would like Court appointed counsel
☒     Government moves to detain                                  ☐ Government does not recommend detention
☒     Set for Preliminary Revocation/Detention Hearing            on Monday, August 01, 2022       @ 9:30
Preliminary/Show Cause/Identity
☐     Defendant
☐     Court finds                                                 ☐    Court does not find probable cause
Detention
☐     Defendant waives right to contest detention
☐
Custody Status
      Defendant remanded to the custody of United States
☒     Marshal's Service
☐     Conditions
Other
☐     Defendant waives personal presence at hearing/Court accepts Defendant’s waiver
      Pursuant to the Due Process Protections Act, Court confirms the United States obligation to produce all exculpatory
☒
      evidence to the defendant pursuant to Brady v. Maryland, 373 U.S. 83 (1963) and its progeny, and orders it to do so.
☐     Matter referred to    for Final Revocation Hearing
☐
